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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DEWAYNE THOMPSON,                                Case No. 1:22-cv-01545-HBK (PC)
12                       Plaintiff,                    ORDER GRANTING MOTION FOR
                                                       LEAVE TO FILE FIRST AMENDED
13           v.                                        COMPLAINT, MOOTING MOTION
                                                       AND DIRECTING CLERK TO
14    L. ADDISON, et al.,                              CORRECT CAPTION
15                       Defendants.                   (Doc. Nos. 9, 5)
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18          Pending before the Court is Plaintiff’s motion seeking leave to file an amended civil rights
19   complaint filed on March 7, 2023. (Doc No. 9). Plaintiff accompanied his motion with a First
20   Amended Complaint. (Doc. No. 10). Because Plaintiff’s initial complaint has not been screened
21   nor served, Plaintiff has the right to file an amended complaint “as a matter of course.” Fed. R.
22   Civ. P. 15(a)(1). A screening order under 28 U.S.C. § 1915A will issue on Plaintiff’s First
23   Amended Complaint. The Court’s acceptance of the First Amended Complaint moots Plaintiff’s
24   earlier motion to file an appendix and exhibits to his original complaint. (Doc. No. 5).
25          Accordingly, it is ORDERED:
26          1. Plaintiff’s motion for leave to file an amended complaint (Doc. No. 9) is GRANTED.
27          2. Plaintiff’s First Amended Complaint is the operative complaint, and the Clerk shall
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       Case 1:22-cv-01545-HBK Document 11 Filed 04/07/23 Page 2 of 2


 1               correct the caption to reflect the defendants named in Plaintiff’s First Amended

 2               Complaint (Doc. No. 10).

 3            3. Plaintiff motion for leave to file an appendix and exhibits to his original complaint

 4               (Doc. No. 5) is moot.

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     Dated:      April 7, 2023
 7                                                       HELENA M. BARCH-KUCHTA
                                                         UNITED STATES MAGISTRATE JUDGE
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